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GoEe Ea
United States Bankruptcy Court for the: re LED
‘ —_—
MA 3 adh g (UW District of \ RK VS
(State)

JUN 1 6 2019
w () Check if this is an

~s oo == = - lovenk, U.S. BANKRUPTCY COURT amended filing
NORTHERN SISTRICT OF TEXAS

| Case number (if known): Chapter
|

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

04/19

1. Debtor’s name rn) WwW (Ge i=) CRG aI ‘ [ | @

2. All other names debtor used Le nee
in the last 8 years

 

Include any assumed names,
trade names, and doing business
as names

 

 

 

. Debtor’ IE oO S i
* Debtors rederatempioyer Ole | Se 14S

 

4. Debtor's address Principal place of business Mailing address, if different from principal place

(3e% Ped eteot-eteae tp «VSR Re ckhil

 

 

 

 

 

Ni u
Number Street \ a Number Street
Quwilau Ate ' 2 P.O. Box
4 S Wa City dd) State ZIP Code Cur vA lang ac “xs AN

: eine of pieces assets, if different from
Kaun Pwr Ok medley 2 at 0 of business

Coun \£ 4 ltoSuy \
: Y Number Street \ \e

 

Ass OK AS tt

s. Debtor's website (URL) \ a WR.

6. Type of debtor orporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
Q Partnership (excluding LLP)

C) Other. Specify:

 

 

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Nuco

Name

Debtor

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

9. Were prior bankruptcy cases
filed by or against the debtor
within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

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a |

A. Check one:

Case number (if known)

 

Ave

C) Health Care Business (as defined in 11 U.S.C. § 101(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
C) Railroad (as defined in 11 U.S.C. § 101(44))
C) Stockbroker (as defined in 11 U.S.C. § 101(53A))
L) Commodity Broker (as defined in 11 U.S.C. § 104(6))
Q Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check ail that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

C} investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto:/Avww.uscourts.gov/four-digit-national-association-naics-codes .

       

 

Check one:

“Chapter 7

UJ Chapter 9
() Chapter 11. Cheek aif that apply:

Q) Debtors aggregate noncontingent liquidated debts (excluding debts owed to

insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
4/01/22 and every 3 years after that).

C) The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
debtor is a small business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Oa plan is being filed with this petition.

OQ) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

LI The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.
) Chapter 12

i

 

 

 

OO Yes. District When Case number
MM / DD/YYYY
District When ss Case number
MM / DD/YYYY
Wino
L) Yes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if known

 

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Debtor A Ur CO Sean L pa VK LL Cc Case number (it krown)

district? . a . , .
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

11. Why is the case filed in this YK all that apply:

Q A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have Xf no
possession of any real
property or personal property
that needs immediate Why does the property need immediate attention? (Check all that apply. )
attention?

L) Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed,

C) tt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

 

CI it needs to be physically secured or protected from the weather.

UJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

CJ Other

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

No
CD Yes. insurance agency

 

Contact name

 

 

Phone
a Statistical and administrative information
13. Debtor’s estimation of Check one:
available funds Funds will be available for distribution to unsecured creditors.

CQ) After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

SX -49 Q 1,000-5,000 2 25,001-50,000
14. Estimated number of C1 50-99 L) 5,001-10,000 L} 50,001-100,000
creditors QO) 100-199 0) 10,001-25,000 C) More than 100,000
C) 200-999
L) $0-$50,000 LI $1,000,001-$10 million Q) $500,000,001-$1 billion
15. Estimated assets JA.$50,001-$100,000 QO $10,000,001-$50 million CQ) $1,000,000,001-$10 billion
Q) $100,001-$500,000 L $50,000,001-$100 million O) $10,000,000,001-$50 billion
O $500,001-$1 million Q) $100,000,001-$500 million LJ More than $50 billion

 

 

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Debtor WN wa CO EM CNR eh Cc Case number (f known)

Name

 

a OQ $0-$50,000 Q) $1,000,001-$10 million CQ) $500,000,001-$4 billion
16. Estimated liabilities OC) $50,001-$100,000 OQ) $10,000,001-$50 million C) $1,000,000,001-$10 billion
$100,001-$500,000 OQ) $50,000,001-$100 million OQ) $10,000,000,001-$50 billion
L) $500,001-$1 million LJ $100,000,001-$500 million CQ) More than $50 billion

a= Request for Rellef, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of © The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of

debtor petition.

= | have been authorized to file this petition on behalf of the debtor.

= | have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

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104-937-108 > 903-43 -¥O9—

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

18. Signature of attorney x Date
Signature of attorney for debtor MM /DD /YYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State
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